                EXHIBIT 1




Case 2:21-cv-00969-LA Filed 06/01/22 Page 1 of 5 Document 48-1
                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF WISCONSIN

JOHN HUBER, in his individual capacity        )
and as Personal Representative of the         )       Case No. 21 C 969
ESTATE OF ANTHONY HUBER,                      )
                                              )
               Plaintiff                      )
                                              )
               vs.                            )       Hon. Lynn Adelman,
                                              )       District Judge
                                              )
DAVID G. BETH, et al.                         )
                                              )
               Defendants                     )       JURY TRIAL DEMANDED


                              DECLARATION OF HERSHEY SURI

Pursuant to 28 U.S.C. § 1746, I state the following to be a true and correct statement of facts:

       1.      I am 18 years or older.

       2.      On January 7, 2022, Plaintiff’s Counsel filed a motion for leave to file an amended

               complaint in this lawsuit.

       3.      On February 2, 2022, the Court granted that motion and the amended complaint was

               filed the same day. Dckt. 27

       4.      On February 24, 2022, I filed a Summons, per the Court’s instructions, for Kyle

               Rittenhouse. Dkt. 29.

       5.      On February 25, 2022, the Clerk emailed the Summons.

       6.      On or around February 26, 2022, I began searching for Kyle Rittenhouse. In order to

               locate Rittenhouse, I conducted multiple searches of public records using Westlaw

               Public Records, Locate Plus, and Google.

       7.      On March 2, 2022, I helped coordinate with one of our investigators, Cindy

               Chekingo, to serve the summons and amended complaint on Rittenhouse at his

               address in Illinois, which I found via these online searches. However, after multiple

      Case 2:21-cv-00969-LA Filed 06/01/22 Page 2 of 5 Document 48-1
      attempts, Chekingo reported that Rittenhouse no longer lived at that address.

8.    Chekingo uncovered a potential address of Rittenhouse’s family while she visited the

      address I originally provided, however neither Rittenhouse nor his family were

      located at that address either. Chekingo was unable to further narrow any potential

      locations for Rittenhouse in Illinois.

9.    On March 4, 2022, I searched for events at which Rittenhouse might appear in public

      to coordinate service of summons. I contacted Rittenhouse’s organization, The Media

      Accountability Project (TMAP), and inquired about future events.

10.   On March 6, 2022, I received a response from TMAP to check Rittenhouse’s social

      media-Twitter and Instagram-for updates about events where he might appear.

11.   On March 7, 2022, I began to follow Rittenhouse’s Twitter for any signs as to where

      our team could potentially locate him and serve him his Summons.

12.   On March 13, 2022, Rittenhouse posted a photo on Twitter stating he had, “packed

      up for one last day of snowboarding Tahoe before heading to Phoenix. @ASU here I

      come.” From this tweet, I gathered that he was attending Arizona State University in

      Phoenix, Arizona.

13.   On March 14, 2022, Plaintiff’s attorneys signed a Service Agreement with Private

      Investigators in Phoenix, Arizona named OPS Consulting and Investigative Services

      LLC to locate Kyle Rittenhouse in Arizona and serve him with the summons.

14.   On March 23, 2022, I received an update from OPS Investigator Mathew V. Parker

      stating he had been unable to generate any Arizona leads for Rittenhouse after

      utilizing numerous databases, pulling vehicle information, and understanding

      everything about Rittenhouse and his associations. Parker asked us for permission to

      reach out to Anthony DeMartino, the realtor heading TMAP, and notify him that we


Case 2:21-cv-00969-LA Filed 06/01/22 Page 3 of 5 Document 48-1
      are looking to serve a summons to Rittenhouse or his attorneys. We notified Parker to

      contact DeMartino.

15.   On March 28, 2022, Parker from OPS informed us that his team had a conversation

      with DeMartino where Parker was notified that if Rittenhouse were to reach out, he

      would reach out to Parker directly, and Parker would then notify us. To this day,

      neither Parker nor our team has received any notification from Rittenhouse.

16.   On April 12, 2022, I received a message from Parker stating that OPS had exhausted

      all reasonable leads.

17.   On April 28, 2022, Plaintiff’s counsel filed a Motion for Extension of Time for an

      additional 30 days to serve Kyle Rittenhouse given our extensive efforts. Our motion

      was granted on May 3, 2022.

18.   On May 4, 2022, I reached out to Mort Smith – Loevy & Loevy’s in-house

      investigator – to continue the search for Rittenhouse’s location.

19.   Mort Smith conducted a search utilizing his investigation databases and professional

      experience to uncover a possible address for Rittenhouse’s current home in Reno,

      Nevada.

20.   On Wednesday, May 25, 2022, Smith flew to Reno and attempted service at the

      address, however there was no answer at the residence.

21.   Smith continued to stake out the address for 15 continuous hours; no one showed up

      to the residence during that period of time.

22.   Smith intends to return to Reno within the next few days to follow up and re-attempt

      service.

23.   Plaintiff’s counsel continues investigative efforts to locate and serve Rittenhouse in

      Arizona. Due to the intense political nature of Rittenhouse’s criminal cases,


Case 2:21-cv-00969-LA Filed 06/01/22 Page 4 of 5 Document 48-1
       Rittenhouse’s location and public appearances are not obvious, and efforts to locate

       Rittenhouse have taken longer than they normally would.


I declare under penalty of perjury that the facts herein are true and correct.


Executed on 06/01/2022                                      /s/ Hershey Suri




Case 2:21-cv-00969-LA Filed 06/01/22 Page 5 of 5 Document 48-1
